408 F.2d 681
    70 L.R.R.M. (BNA) 2958
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.RAYTHEON COMPANY, Respondent.INTERNATIONAL UNION OF ELECTRICAL, RADIO AND MACHINEWORKERS, AFL-CIO, Petitioner,v.NATIONAL LABOR RELATIONS BOARD, Respondent, and RaytheonCompany, Intervenor.
    Nos. 22572, 22572A.
    United States Court of Appeals Ninth Circuit.
    Feb. 19, 1969, Rehearing Denied May 8, 1969.
    
      John I. Taylor, Jr.  (argued), Washington, D.C., Arnold Ordman, Gen. Counsel, Dominick L. Manoli, Associate Gen. Counsel, Marcel Mallet-Prevost, Asst. Gen. Counsel, Allison W. Brown, Jr., Washington, D.C., for petitioner.
      Alfred C. Phillips (argued), Paul B. Ascher, Lexington, Mass., for respondent Raytheon Co.
      Irving Abramson, Ruth Weyand, Washington, D.C., Melvin Warshaw, New York City, for International Union of Electrical, Radio &amp; Machine Workers.
      Before CHAMBERS, KOELSCH, and BROWNING, Circuit Judges.
      PER CURIAM:
    
    
      1
      The Board found that Raytheon Company, in connection with a representation election at its Sunnyvale, California plant, committed labor practices made unfair by Section 8(a)(1) of the Act.  In No. 22572, the Board petitions for enforcement of its ensuing cease and desist order, and in No. 22572A, the International Union of Electrical, Radio and Machine Workers, AFL-CIO, the charging party and intervenor, petitions for a review of the Board's ruling refusing to amend the Complaint.
    
    
      2
      During oral argument in this court counsel for Raytheon made a suggestion of mootness.  With leave of court, Raytheon was permitted to supplement the record and move the dismissal of the proceedings.  From the additional materials submitted pursuant to such leave, it now appears without contradiction that since these petitions were filed the Board has held a new representation election and certified the result.
    
    
      3
      Accordingly, on the authority of General Engineering, Inc. v. N.L.R.B., 311 F.2d 570 (9th Cir. 1962), Raytheon's motions are granted and the proceedings are dismissed.
    
    